       Case 4:14-cv-02251-RCC Document 68 Filed 02/13/20 Page 1 of 4



 1   Lee Gelernt*
     ACLU FOUNDATION
 2   125 Broad Street
     New York, NY 10004
 3   T: (212) 549-2660
     lgelernt@aclu.org
 4
     Luis F. Parra (Bar No. 21570)
 5   PARRA LAW OFFICES
     571 North Grand Avenue
 6   Nogales, AZ 85621
     T: (520) 281-9369
 7   lfparra@azmxlaw.com
 8   Roberto C. Montiel (Bar No. 003198)
     ROBERTO MONTIEL LAW OFFICES
 9   571 North Grand Avenue
     Nogales, AZ 85621
10   T: (520) 281-2923
     lawrobertomontiel@hotmail.com
11
     Attorneys for Plaintiff
12   (Additional Counsel on Subsequent Pages)
13
                           IN THE UNITED STATES DISTRICT COURT
14
                                 FOR THE DISTRICT OF ARIZONA
15
16
17   ARACELI RODRIGUEZ, individually                   Case No. 4:14-cv-02251-RCC
     and as the surviving mother and personal
18   representative of the ESTATE OF J.A.,             NOTICE OF WITHDRAWAL OF
     Deceased,                                         PLAINTIFF’S COUNSEL
19                                                     ELIZABETH BALASSONE
                      Plaintiff,
20          v.

21   LONNIE SWARTZ, et al.,                            (Assigned to the
                      Defendants.                      Honorable Raner C. Collins)
22
                                                       Action Filed: July 29, 2014
23
24
25
26
27
28
     NOTICE OF WITHDRAWAL OF PLAINTIFF’S COUNSEL ELIZABETH BALASSONE
     CASE NO. 4:14-CV-02251-RCC
     sf-4178019
       Case 4:14-cv-02251-RCC Document 68 Filed 02/13/20 Page 2 of 4



 1   Cecillia D. Wang*
     ACLU IMMIGRANTS’ RIGHTS PROJECT
 2   39 Drumm Street
     San Francisco, CA 94111
 3   T: (415) 343-0770
     F: (415) 268-7522
 4   cwang@aclu.org
 5   Mitra Ebadolahi*
     ACLU FOUNDATION OF SAN DIEGO
 6   AND IMPERIAL COUNTIES
     P.O. Box 92138
 7   San Diego, CA 92138-7131
     T: (619) 232-2121
 8   F: (619) 232-0036
     mebadolahi@aclusandiego.org
 9
10   Arturo J. Gonzalez*
     MORRISON & FOERSTER LLP
11   425 Market Street
     San Francisco, CA 94105
12   T: (415) 268-7000
     F: (415) 268-7522
13   agonzalez@mofo.com

14   Attorneys for Plaintiff
     * Admitted pursuant to Ariz. Sup. Ct. R. 38(a)
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     NOTICE OF WITHDRAWAL OF PLAINTIFF’S COUNSEL ELIZABETH BALASSONE
     CASE NO. 4:14-CV-02251-RCC
     sf-4178019
       Case 4:14-cv-02251-RCC Document 68 Filed 02/13/20 Page 3 of 4



 1          Pursuant to Local Rule 83.3(b)(4), Plaintiff provides notice that, as of February 18,
 2   2020, Elizabeth Balassone will no longer be employed with the law firm of Morrison &
 3   Foerster LLP, and will no longer be counsel for the Plaintiff in this case. Plaintiff will
 4   continue to be represented in this matter by other co-counsel of record for the Plaintiff.
 5
 6    Dated: February 13, 2020             By:    /s/ Elizabeth Balassone
                                                   Elizabeth Balassone
 7
                                           MORRISON & FOERSTER LLP
 8                                         Arturo Gonzalez*

 9                                         ACLU FOUNDATION
                                           Lee Gelernt*
10
                                           PARRA LAW OFFICES
11                                         Luis F. Parra (Bar No. 21570)

12                                         ROBERTO MONTIEL LAW OFFICES
                                           Roberto C. Montiel (Bar No. 003198)
13
                                           ACLU IMMIGRANTS’ RIGHTS PROJECT
14                                         Cecillia D. Wang*

15                                         ACLU FOUNDATION OF SAN DIEGO
                                           AND IMPERIAL COUNTIES
16                                         Mitra Ebadolahi*

17                                         Attorneys for Plaintiffs

18                                         *Admitted pursuant to Ariz. Sup. Ct. R. 38(a)

19
20
21
22
23
24
25
26
27
28
     NOTICE OF WITHDRAWAL OF PLAINTIFF’S COUNSEL ELIZABETH BALASSONE                              1
     CASE NO. 4:14-CV-02251-RCC
     sf-4178019
       Case 4:14-cv-02251-RCC Document 68 Filed 02/13/20 Page 4 of 4



 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on February 13, 2020, I electronically transmitted the attached
 3   document to the Clerk’s office using the CM/ECF System for filing. Notice of this filing
     will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
 4   by mail as indicated on the Notice of Electronic Filing.
 5
 6                                              /s/ Elizabeth Balassone
                                                 Elizabeth Balassone
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     NOTICE OF WITHDRAWAL OF PLAINTIFF’S COUNSEL ELIZABETH BALASSONE                           2
     CASE NO. 4:14-CV-02251-RCC
     sf-4178019
